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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )
                                     )                4:06CR3145
           v.                        )
                                     )
TALLAS LAPAUL HARRIS and             )
O’DARI ZANDAGHE WILEY,               )                    ORDER
                                     )
                Defendants.          )
                                     )



     IT IS ORDERED:

     1. The motion of defendant Tallas Lapaul Harris to continue
trial, filng 22, is granted and trial as to both defendants is
continued from December 11, 2006 to February 5, 2007 for a
duration of five trial days before the Honorable Richard G. Kopf
in Courtroom 1, United States Courthouse and Federal Building,
100 Centennial Mall North, Lincoln, Nebraska. Jury selection
will be held at commencement of trial.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendants in a speedy trial, and the additional time arising as
a result of the granting of the motion, the time between
December 4, 2006 and February 5, 2007, shall be deemed excludable
time in any computation of time under the requirements of the
Speedy Trial Act, for the reason that the parties require
additional time to adequately prepare the case, taking into
consideration due diligence of counsel, the novelty and
complexity of the case, and the fact that the failure to grant
additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B).

     DATED this 4th day of December, 2006.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
